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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                  )
FEDERAL TRADE COMMISSION,                         )
                                                  )
                                 Plaintiff,       )
                                                  )     Case No. 1:20-cv-03590-JEB
                            v.                    )
                                                  )
META PLATFORMS, INC.,                             )     HON. JAMES E. BOASBERG
                                                  )
                                 Defendant.       )
                                                  )

      [PROPOSED] ORDER DENYING DEFENDANT’S DESIGNATED IN-HOUSE
         COUNSELS ACCESS TO HIGHLY CONFIDENTIAL INFORMATION

          UPON CONSIDERATION of the Motion of Non-Party TikTok Inc. to Deny Defendants’

Designated In-House Counsels Access to Highly Confidential Information, it is this ___ day of

_______________, 2022, hereby:

          ORDERED that the In-House Counsel designated by Defendant Meta Platforms, Inc. are

denied access to Non-Party TikTok Inc.’s Highly Confidential Information under the Protective

Order; and it is further

          ORDERED that only outside counsel for Defendant Meta Platforms, Inc. may access

Highly Confidential Information produced by Non-Party TikTok Inc. in the above-captioned

matter.



                                                   ___________________________
                                                   James E. Boasberg
                                                   United States District Judge
